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                           UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


NATIONAL ELECTRICAL ANNUITY PLAN,

       Plaintiff,
v.                                                        Case No. 18-13701

HENKELS AND MCCOY, Inc.,

       Defendant.
                                                 /


     ORDER SETTING BRIEFING SCHEDULE FOR A TRIAL ON THE PAPERS

       On November 10, 2021, the court held a status conference with the parties, who

jointly consented to resolving the dispute through a trial on the papers in lieu of a bench

trial. Plaintiff and Defendant indicated they had met and conferred before the

conference and jointly suggested a proposed briefing schedule. The court largely

concurs in the parties’ suggested dates and adopts the following schedule.

               1. To the extent possible, the parties are directed to submit a joint

                    statement of uncontested facts by December 17, 2021. Based on the

                    party’s representations during the status conference, the court

                    anticipates that few underlying facts remain in dispute.

               2. Plaintiff shall file a Motion for Judgment, and a supporting brief by

                    January 14, 2022.

               3. Defendant shall file a Motion for Judgment, and a combined brief both

                    supporting its motion and responding to Plaintiff’s motion by February

                    18, 2022.
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                       4. Plaintiff shall file a Response to Defendant’s Motion for Judgment by

                             March 4, 2022.

                                                                       s/Robert H. Cleland
                                                                       ROBERT H. CLELAND
                                                                       UNITED STATES DISTRICT JUDGE

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, November 17, 2021, by electronic and/or ordinary mail.

                                                                       s/Lisa Wagner
                                                                       Case Manager and Deputy Clerk
                                                                       (810) 292-6522
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